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     Attorney for Debtor

                                UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF IDAHO


In re:                                                     Case No. 20-40042-JMM

PAULA LYNNE ZIEGLER,                                       Chapter 7

                         Debtor.



           VERIFIED STATEMENT OF MATTHEW T. CHRISTENSEN IN SUPPORT OF
                   APPLICATION TO EMPLOY COUNSEL FOR DEBTOR


     STATE OF IDAHO )
                    ) ss:
     COUNTY OF ADA )

             MATTHEW T. CHRISTENSEN, being first duly sworn upon oath, deposes and says:

             1.        I am a practicing attorney and a partner with the law firm of Angstman Johnson

     with offices at 199 N. Capitol Blvd, Ste 200, Boise, Idaho 83703, (208) 384-8588.

             2.        I have read the application of Paula Lynne Ziegler, for authority to employ and

     retain counsel.

             3.        I have not received a retainer from the Debtor, as she is already a Chapter 7 Debtor

     and has no funds with which to pay a retainer. Pre-appearance fees and expenses will be paid from

     funds in the bankruptcy estate, provided the conversion and application to employ are approved.


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       4.      I and the law firm of Angstman Johnson have no connection with the Debtor other

than a consult related to this bankruptcy case.

       5.      I and the law firm of Angstman Johnson have no connection with any personnel

employed in the Office of the United States Trustee, the creditors or any party in interest, nor with

their respective attorneys or accountants, other than normal professional relationships with

attorneys and accountants, and other than the following:

               a. Prior to our appearance, we were consulted by Roy Ziegler on behalf of his

                   entities 308-310 E Deshler, LLC, and Lagunita Holdings, LLC, specifically

                   related to the adversary proceeding being pursued by the Chapter 7 Trustee,

                   Adv. Case No. 20-08018-JMM. Additionally, I consulted with Mr. Ziegler

                   related to the Trustee’s most recent adversary complaint, Adv. Case No. 20-

                   08019-JMM, against a Trust that Mr. Ziegler is the Trustee for, known as the

                   Margaret Louise Vogelsang Revocable Trust. Mr. Ziegler paid us a retainer of

                   $1,500.00 related to the LLC adversary (Adv. Case No. 20-08018). However,

                   we have not applied any funds from that retainer and it remained in our client

                   trust account. We have discontinued any further representation of Mr. Ziegler

                   or his entities, who will be locating a different attorney for defense of the

                   adversary proceedings. We will transfer the funds in our trust account to that

                   attorney as soon as the new attorney is identified.

               b. We will not be representing Mr. Ziegler or his companies or the Trust in any

                   capacity related to Ms. Ziegler’s bankruptcy proceeding.

       6.      I believe I and the law firm of Angstman Johnson are disinterested persons as

defined in 11 U.S.C. § 101(14) and represent no interest adverse to the debtor or bankruptcy estate



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in matters upon which I am to be engaged, and believe that I and the law firm can undertake

representation of the Debtor in this case without any type of restriction.

       7.      The hourly rates to be charged by myself and other professionals at my firm are

outlined in the engagement letter between my firm and Debtor, a copy of which is attached to the

Application to Employ as Exhibit A.



       DATED this 13th day of April, 2020.

                                                    /s/ Matt Christensen
                                              Matthew T. Christensen

       SUBSCRIBED AND SWORN to before me this 13th day of April, 2020.

                                                     /s/ Megan Richmond
               [SEAL]                         Notary Public of Idaho
                                              Commission Expires: 3/2/2021




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